
PER CURIAM.
*461Shamichael Johnson appeals from the trial court's denial of her motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. On appeal from a summary denial, this Court must reverse unless the postconviction record, see Fla. R. App. P. 9.141(b)(2)(A), shows conclusively that the appellant is entitled to no relief, see Fla. R. App. P. 9.141(b)(2)(D).
Because the record now before us fails to make the required showing, we reverse the order and remand for attachment of records conclusively showing that the appellant is not entitled to any relief or an evidentiary hearing. Langdon v. State, 947 So.2d 460 (Fla. App. 3d DCA 2006). If the trial court again enters an order summarily denying the postconviction motion, the court shall attach record excerpts conclusively showing that the appellant is not entitled to any relief.
Reversed and remanded for further proceedings.
